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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MINNESOTA



SMARTMATIC USA CORP.,
SMARTMATIC INTERNATIONAL
HOLDING B.V., and SGO
CORPORATION LIMITED,

                      Plaintiffs,
                v.                       Case No. 22-cv-0098-JMB-JFD
MICHAEL J. LINDELL and MY
PILLOW, INC.,

                      Defendants.


SMARTMATIC’S MEMORANDUM OF LAW IN SUPPORT OF ITS SECOND
                MOTION TO SHOW CAUSE
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        Plaintiffs Smartmatic USA Corporation, Smartmatic International Holding B.V.,

and SGO Corporation, Limited (collectively, “Smartmatic”) respectfully request that this

Court order Defendants Michael J. Lindell and My Pillow, Inc. (“MyPillow”) to show

cause before the Honorable Judge Jeffrey M. Bryan why they should not be held in

contempt for violations of this Court’s August 20, 2024 Minute Order and August 21, 2024

Order (ECF Nos. 349, 350).

                                   INTRODUCTION

        Now for the second time, Smartmatic moves this Court to certify facts regarding

Defendants’ failure to comply with a Court order. (See ECF No. 274, Smartmatic’s Motion

to Show Cause and ECF No. 308, Order Granting Smartmatic’s Motion to Show Cause.)

The problem is worsening: Defendants have not produced a single document, nor served

any written response, in compliance with several categories of this Court’s most recent set

of Orders granting Smartmatic’s Third Motion to Compel. The burden should therefore

shift to Defendants to explain their noncompliance to Judge Bryan.

                             FACTUAL BACKGROUND

        On August 20, 2024, this Court heard arguments on Smartmatic’s Third Motion to

Compel. At the close of the hearing, this Court ordered Defendants to supplement their

production of MyPillow’s financial records, and to respond in writing to Smartmatic’s Fifth

Set of Requests for Production (“RFPs”) and Fourth Set of Interrogatories. (See ECF No.

349.)

        On August 21, 2024, this Court ordered Defendants to supplement their responses

to Interrogatory Nos. 20 and 23. (ECF No. 350.) The Court further noted that information

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responsive to Interrogatory No. 14 is relevant and proportional, and granted Smartmatic

leave to re-word Interrogatory No. 14. On September 19, 2024, Smartmatic served an

amended version of Interrogatory No. 14. (Declaration of Julie M. Loftus (“Loftus Decl.”)

Ex. A, Plaintiffs’ Amended Interrogatory No. 14 Directed at Defendants Michael J. Lindell

and My Pillow, Inc.)

       To date, Smartmatic has received very few of the documents or written responses 1

ordered by this Court in the August 20 and August 21 Orders. Smartmatic has asked

Defendants to comply with this Court’s August 20 and August 21 Orders on numerous

occasions. (See generally, Declaration of Julie M. Loftus (“Loftus Decl.” ¶¶ 4–7.) Indeed,

Smartmatic has allowed Defendants ample time to comply with the August 20 and August

21 Orders.

       On September 24, 2024, Smartmatic contacted Defendants with a complete list of

still-outstanding discovery. (Id. Ex. B, email from J. Loftus to C. Kachouroff.) The parties

conferred about the outstanding discovery on September 26, 2024. (See id. Ex. C, email

from J. Loftus to C. Kachouroff.) Counsel for Defendants assured Smartmatic that the

outstanding items were being addressed. (Id.) On October 10, 2024, Smartmatic followed

up specially regarding the items ordered at the August 20 hearing and in the August 21

Order and indicated Smartmatic would be forced to seek Court assistance. (Id. Ex. D, email

from J. Loftus to C. Kachouroff.)



1
 Defendants’ sole attempt at compliance with this Court’s Orders was a production of
MyPillow’s financial documents responsive to RFP No. 26, as ordered by the Court’s
August 20, 2024 Order (ECF No. 349).
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       Defendants maintain that they are incapable of complying with this Court’s Orders

due to, among other reasons, resource strain. (Id. Ex. E, October 17, 2024 email exchange

between J. Loftus and C. Kachouroff, at 2–3.) Defendants have insisted that Smartmatic

narrow the discovery this Court ordered them to produce. (Id.) In the spirit of cooperation,

Smartmatic provided a narrowed, prioritized list of the discovery it needed most urgently

to four discrete categories: 2

       • A responsive answer to Interrogatory No. 14; 3

       • Responsive answers to Interrogatory Nos. 20 and 23; 4

       • MyPillow’s board minutes from January 1, 2020 through the present; 5

       • MyPillow’s revenue split agreements made to MyPillow’s radio, podcast, and
         influencer advertisers from 2018 through the present. 6

(Id. Ex. E, at 1.)

       Even after Smartmatic presented its narrowed list of highest-priority discovery,

Defendants have still failed to produce a single document or written response to the above

items. Defendants’ noncompliance is prejudicing Smartmatic, because Smartmatic is now

not only briefing dispositive motions without discovery it is owed, but also preparing for




2
  Smartmatic is still entitled to the other items ordered by this Court in the August 20 and
21, 2024 Orders. Smartmatic solely provided a list of the items that it most urgently
needed to prosecute its case.
3
  Id. Ex. A.
4
  Id. Ex. F, Smartmatic’s Second Set of Interrogatories Directed at Defendant My Pillow,
Inc.
5
  See id. Ex. G, Smartmatic’s Fifth Set of Requests for Production, at 8 (RFP No. 46).
6
  See id. at 7 (RFP No. 40).
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trial. Accordingly, Smartmatic has once again been left with no option but to move the

Court for an order to show cause why Defendants should not be held in contempt.

                                  LEGAL STANDARD

       The Court may hold a party in contempt of court for violating a specific order. Fed.

R. Civ. P. 70(a), (e). The contempt authority includes the power to hold a party responsible

for violating a subpoena or discovery order. Henderson v. City of Woodbury, No. 15-cv-

3332, 2016 WL 11020059, at *2 (D. Minn. Nov. 4, 2016), report and recommendation

adopted by Henderson v. City of Woodbury, No. CV 15-3332 (RHK/FLN), 2016 WL

11020058 (D. Minn. Dec. 1, 2016). When a party is in contempt, the court may impose

monetary or carceral sanctions to encourage the contemnor’s compliance with the court’s

order, to compensate the movant for losses sustained, or both. United States v. Open Access

Tech. Int’l, Inc., 527 F. Supp. 2d 910, 912–13 (D. Minn. 2007).

       A moving party will show contempt of court by bringing clear and convincing

evidence of the opposing party’s violation of the court order. Allied Med. Training, LLC v.

Knowledge2SaveLives L.L.C., No. 19-CV-3067 (ECT/KMM), 2020 WL 6269196 at *2 (D.

Minn. Oct. 26, 2020). The movant meets its burden to demonstrate contempt when it shows

that “(1) a valid order existed, (2) the party had knowledge of the order, and (3) the party

disobeyed the order.” United States v. Thornton, No. 13-mc-87 (SRN/TNL), 2015 WL

1522245, at *2 (D. Minn. Mar. 27, 2015). The movant need not show that the contemnor

acted willfully. Allied Med. Training, 2020 WL 6269196, at *2.

       Once the movant shows the contemnor violated a court order, the burden shifts to

the contemnor to show their inability to comply. Edeh v. Carruthers, No. CIV. 10-2860

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RJK/JSM, 2011 WL 4808194 (D. Minn. Sept. 20, 2011), report and recommendation

adopted sub nom. Edeh v. D. Scott Carruthers Att’ys at L., No. CIV. 10-2860 RHK/JSM,

2011 WL 4808191 (D. Minn. Oct. 11, 2011). “A mere assertion of present inability is

insufficient to avoid a civil contempt finding. Rather, alleged contemnors defending on the

ground of inability must establish: (1) that they were unable to comply, explaining why

categorically and in detail; (2) that their inability to comply was not self-induced; and (3)

that they made in good faith all reasonable efforts to comply.” Id. at *3 (quotation omitted).

       Although Magistrate Judges do not have the authority to issue civil contempt orders

except in limited circumstances, they do have authority to “certify the facts to a district

judge” and “serve or cause to be served . . . an order requiring such person to appear before

a district judge upon a day certain to show cause why that person should not be adjudged

to be in contempt by reason of the facts so certified.” 28 U.S.C. §626(e).

                                       ARGUMENT

       The first two elements of Smartmatic’s claim that Defendants should be held in

contempt are undisputed. The Court’s Orders dated August 20, 2024 and August 21, 2024

are valid orders of which Defendants had knowledge. Furthermore, Defendants cannot

dispute that they disobeyed the Court’s Orders because they have produced zero documents

and served zero written answers to the categories of outstanding discovery Smartmatic

identifies in this Motion. Thus, the burden should shift to Defendants to demonstrate their

inability to comply with the Court’s Orders.




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I.     Defendants Failed To Serve Written Responses To Entire Sets Of Discovery
       Requests As Ordered.

       Smartmatic served its final set of discovery requests on September 20, 2023. (Loftus

Decl. Ex. H, Email from J. Bedell to then-counsel for Defendants.) Defendants failed to

serve any written responses to these four sets of requests for over ten months, prompting

Smartmatic to bring this to the Court’s attention in its Third Motion to Compel, filed July

9, 2024. (ECF No. 292.) 7

       On August 20, 2023, the Court granted Smartmatic’s motion, compelling

Defendants to respond to Smartmatic’s Fourth Set of Interrogatories and Fifth Set of

Requests for Production. The Court encouraged counsel for Defendants to prepare the

missing written responses. (See ECF No. 340, Hearing Transcript at 44:21–25 (“In the

meantime, Mr. Kachouroff, I’d recommend that the time that before the written order

comes out, probably ought to be devoted to the fifth set and fourth set, which as you’ve

said, there’s still some additional material to be produced.”).)

       Defendants have not served any written responses to Smartmatic’s Fifth Set of

Requests for Production and Fourth Set of Interrogatories. (See Loftus Decl. ¶ 12.) Nor

have they produced any documents responsive to either set of requests. (Id. ¶ 13.) Even

after Smartmatic provided Defendants with its narrowed, prioritized list of discovery

sought, Defendants still did not provide anything related to either set of discovery. (See id.



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  Only after Smartmatic filed its Motion to Compel (ECF No. 294) did Defendants serve
answers to Smartmatic’s First and Second Sets of Requests for Admission. Thus, this
Court’s August 20 Order and this Motion focus on the still-outstanding written responses
to Smartmatic’s Fourth Set of Interrogatories and Fifth Set of Requests for Production.
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Ex. E.) Because Defendants have violated this Court’s August 20 Order, the burden should

shift to Defendants to demonstrate their inability to comply.

II.    Defendants Failed To Supplement Interrogatories As Ordered.

       Smartmatic served the following Interrogatory to discovery information relevant to

the falsity and actual malice element of Smartmatic’s defamation claim:

          • Interrogatory No. 14: If you contend that any of the DEFAMATORY
            STATEMENTS are true, substantially true, accurate, not misleading, and/or
            not defamatory, describe all facts and identify all documents that You claim
            support or establish that such statements are true, substantially true, accurate,
            not misleading, and/or defamatory. (Id. Ex. I, Plaintiffs’ First Set of
            Interrogatories Directed at Defendants Michael J. Lindell and My Pillow,
            Inc. at 13.)

Defendants initially refused to answer Interrogatory No. 14, objecting that questions about

the truth of Defendants’ statements are better suited to deposition testimony. After retaining

new counsel, Defendants again refused to answer the interrogatory due to the defined term

“Defamatory Statements.” In its August 21, 2024 Order, this Court found that information

responsive to Interrogatory No. 14 is relevant and proportional, and granted Smartmatic

leave to re-word Interrogatory No. 14 with alternative language. On September 19, 2024,

Smartmatic served an amended Interrogatory No. 14, worded as follows:

          • Interrogatory No. 14: If you contend that any of the statements contained in
            Paragraphs 76–78, 80–109, 111–114, 118–128, 132–136, 138–141, 145, 151,
            158, 166, 173, 178, and 184 of Smartmatic’s Supplemental Complaint (ECF
            No. 125) filed in the above-captioned litigation are true, substantially true,
            accurate, not misleading, and/or not defamatory, describe all facts and
            identify all documents that You claim support or establish that such
            statements are true, substantially true, accurate, not misleading, and/or not
            defamatory.




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(Loftus Decl. Ex. A.) Defendants have not provided any answer in response to the newly

worded Interrogatory No. 14, despite Smartmatic’s emphasis that this is a high-priority

item. (Id. Ex. E.)

       Furthermore, Smartmatic served the following interrogatories on MyPillow in

support of its claim that MyPillow is vicariously liable for the defamatory statements of its

CEO:

           • Interrogatory No. 20: Identify and quantify all MY PILLOW financial
             resources or other monetary support provided by You for development,
             production, or publication of the ACCUSED PROGRAMS,
             DEFAMATORY BROADCASTS, the LINDELL APPEARANCES, the
             LINDELL WEBSITES, or the “March for Trump” tour and tour bus
             referenced in paragraph 76 of the Complaint. (Id. Ex. F, at 10.)

           • Interrogatory No. 23: Identify any instance in which MY PILLOW has
             loaned money to LINDELL or cosigned an obligation of LINDELL. Your
             response should state: (a) the date of the loan or instrument; (b) the amount
             of money at issue; (c) whether there was a written loan agreement,
             promissory note, or similar document; (d) the date and amount of each
             payment that MY PILLOW made; (e) the interest rate, if any; and (f) the
             balance still owed by MY PILLOW, if any. There is no time limit to this
             Interrogatory. (Id.)

       After significant back and forth, MyPillow declined to give a responsive answer to

either Interrogatory. For Interrogatory No. 20, MyPillow argued that advertising payments

were somehow distinct from “monetary support.” This Court disagreed and found that

“advertising costs falls under ‘other monetary support’” under the plain language of the

Interrogatory. (ECF No. 350, at 4.) Thus, Defendants were ordered to provide information

about financial resources—including advertising—for the “development, production, or

publication of the listed programs, broadcasts, appearances, or websites, or the March for

Trump tour or bus.” (Id.) Defendants have not provided any such information, despite

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Smartmatic’s emphasis that this discovery is important to Smartmatic’s case. (Loftus Decl.

Ex. E.)

        With respect to Interrogatory No. 23, MyPillow admitted that MyPillow and Lindell

have loaned each other money, but it refused to identify any of the referenced loans. In its

August 21 Order, this Court found that “the most practical and reasonable way to determine

the purpose of a loan or cosigned obligation would be to examine details such as dates,

amounts, written documentation, interest rates, and balances. Even if no formal loan

documents exist, responsive information may be located in accounting entries, as

Defendants have conceded. Therefore, Defendants must respond to Interrogatory No. 23,

to the extent that responsive information exists.” (Id. at 5.) Defendants have not produced

any loan documents or accounting entries, as ordered by the Court, despite Smartmatic’s

emphasis that this discovery is a high-priority item. (See Loftus Decl. Ex. E.)

III.    The Burden Should Shift to Defendants to Demonstrate a True Inability to
        Comply.

        As described in detail above, Defendants cannot argue that they have even attempted

to respond to Smartmatic’s Fourth Set of Interrogatories or Fifth Set of Requests for

Production. Nor have they served any update to Interrogatory Nos. 14, 20, or 23.

Smartmatic does not bring this motion because it disagrees with whether a good-faith

attempt at compliance satisfies this Court’s Orders. Rather, Smartmatic was forced to bring

this motion because Defendants have made no progress toward complying with entire

sections of four-month-old orders. This Court should therefore find that Defendants must

appear before Judge Bryan and establish a true inability to comply with Court Orders. See


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Edeh v. Carruthers, No. CIV. 10-2860 RJK/JSM, 2011 WL 4808194 (D. Minn. Sept. 20,

2011). If Defendants are not able to comply with discovery orders, then they must articulate

“(1) that they were unable to comply, explaining why categorically and in detail; (2) that

their inability to comply was not self-induced; and (3) that they made in good faith all

reasonable efforts to comply.” Id. at *3. Indeed, Defendants showing must go beyond “[a]

mere assertion of present inability.” Id. Smartmatic therefore requests that this Court certify

the facts contain herein and order Defendants to show cause before Judge Bryan why they

should not be held in contempt.

                                      CONCLUSION

       For the foregoing reasons, Smartmatic respectfully requests that (1) this Court

certify the facts described herein, and (2) Defendants be ordered to show cause before

Judge Bryan why they should not be held in contempt for violating this Court’s prior

discovery order.

Dated: December 9, 2024                                Respectfully submitted,

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